AO l99A (Rev. 12/1|) Order Setting Conditions ot`Release Fagc l Of Q_ PaS°S

 

UNITED STATES DtsTRICT COURT

for the
United States of America )
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erllam Rlck Slnger ) Case NO. 19Cr10078_1_RWZ
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Defendanr
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(l) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection ofa DNA sample if it is authorized by 42 U.S.C. § 141 35a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that

the court may impose.
The defendant must appear at: / /; 015 j z \’Z , /%M`

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If` blank, defendant Will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

AO l99l3 (Rev. lZ/ll) AdditionalConditions ofRelease Pagc lof l Pages

ADDITIONAL CONDITIONS OF RELEASE

lT IS FURTHER ORDERED that the dcfendant’s release is subject to the conditions marked below:

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The defendant is placed in the custody of:

Person or organization

AddreSS fort/y {f above is an organization)

City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (e) notify the court immediately
ifthe defendant violates a condition of release or is no longer in the custodian’s custody,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signed:
Ctrri'odi`an Date

The defendant must:

(a) submit to supervision by and report for supervision to the m / °
telephone number , no later than

(b) continue or actively seek employment.

(c) continue or start an education program

(d) surrender any passport to:

(e) not obtain a passport or other international travel doeun'ient.

(t) abide by the following restrictions on personal association, residenee. or trave|: MA., CA., FL

(g) avoid all contact, directly or indirectly_ with any person who is or may be a victim or witness in the investigation or prosecution,
including:

(h) get medical or psychiatric treatment

(i) return to custody each at o’clock after being released at o`clocl< for employment, schooling
or the following purposes:

U) maintain residence at a halfway house or community corrections center` as the pretrial services office or supervising officer considers
necessary.

(k) not possess a firearm. destructive device, or other weapon.

(l) not use alcohol ( ) at all ( ) excessive|y.

(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(n) submit to testing for a prohibited substance ifrequired by the pretrial services office orsupervising ol`fieer. Testing may be used with random
frequency and may include urine testing, the wearing ofa Sweat patch, a remote alcohol testing system, and/or any forth of prohibited
substance screening ortesting. The defendant must not obstruet. attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing

(O) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

(p) participate in one ofthe following location restriction programs and comply with its requirements as directed.

( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as
directed by the pretrial services office or supervising officer; or

( ) (ii) Home Detentinn. You are restricted to your residence at all times except for employment; education; religious services; rnedical.
substance abuse, or mental health treatinent; anomey visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer; or

( )(iii) Home lncareeratinn. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(q) Sublt'til to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided
( )You must pay all or part ofthe cost ofthe program based on your ability to pay as determined by the pretrial services office or

supervising ot`ficer.

(r) report as soon as possible to the pretrial services office or supervising officer every contact with law enforcement personnel, including

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Advice of Penalties and Sanctions

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation ofany ofthe foregoing conditions of release may result in the immediate issuance ofa warrant for your arrest, a
revocation of release, an order ofdetention, and a prosecution for contempt ofcourt and could result in a term of linprlsoninent, a fine,
or both.

The commission ofa Federal offense while on pretrial release will result in an additional sentence ofa term ofimprisonment
ofnot more than ten years, ifthe offense is a felony; or a term ofimprisonment ofnot more than one year, ifthe offense is a misdemeanor.
This sentence shall be in addition to any other sentence

Federal law makes ita crime punishable by up to 10 years ofimprisonment, and a $250,000 fine or both to obstruct a criminal
investigation lt is a crime punishable by up to ten years ofimprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim,juror, informant, or officer ofthe court. The penalties for tampering, retaliation, or intimidation are significantly more serious
ifthey involve a killing or attempted killing.

Ifafter release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service ofsentence,
you may be prosecuted for falling to appear or surrender and additional punishment may be imposedl lfyou are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense ln
addition, a failure to appear or surrender may result in the forfeiture ofany bond posted.

Aeknowledgment of l)efendant

l acknowledge that l am the defendant in this case and that lam aware of the conditions of release l promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence impose . l am aw@:t/h?enalti s and sanctions set forth

QM j

Signature of Defendant y

 

 

Address

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/ Directions to United States Marshal
( ) The defendant is ORDERED released after processingl

( ) The United States marshal is ORDERED to keep the defendant in custody u noti red by he cler or dge that the defendant
has posted bond and/or complied with all other conditions for release Th defen nt shall e prod ce efore the appropriate

judge at tie time and place specified, ifstil| in custody.

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